                        IN THE UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF TENNESSEE

PENNSYLVNIA NATIONAL MUTUAL                       )
CASUALTY INSURANCE COMPANY,                       )
                                                  )
       Plaintiff,                                 )
                                                  )
v.                                                )            Case No. 2:09-CV-87
                                                  )
WILD BUILDING CONTRACTORS, INC.                   )
                                                  )
       Defendant.                                 )

                    STIPULATION OF DISMISSAL WITH PREJUDICE

        Plaintiff, Pennsylvania National Mutual Casualty Insurance Company, and Wild Building

 Contractors, Inc., pursuant to Rule 41(a)(1) of the Federal Rules of Civil Procedure hereby

 stipulate that the action filed by Plaintiff, Pennsylvania National Mutual Casualty Insurance

 Company, against Defendant, Wild Building Contractors, Inc., shall be dismissed with prejudice.

 No discretionary costs are to be assessed.

        Dated this ______ day of October, 2009.

 APPROVED FOR ENTRY:

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Case 2:09-cv-00087-JRG-DHI Document 7 Filed 10/05/09 Page 1 of 1 PageID #: 45
